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               UNITED STATES BANKRUPTCY COURT, DISTRICT OF MASSACHUSETTS
                              Proceeding Memorandum/Order of Court

In Re: Andre Bisasor                           Case Number: 15-13369             Ch: 7

MOVANT/APPLICANT/PARTIES:
#241 Order dated 6/5/2018 Re: [119] Application for Compensation and Reimbursement of Expenses
for David G. Baker, Debtor's Attorney, Period: 9/1/2015 to 1/1/2016, Fee: $12,250.00,
Expenses: $124.57. THE PARTIES ARE HEREBY ORDERED TO FILE A STATUS REPORT AS TO THE SETTLEMENT
REPORTED BY THE MEDIATOR ON OR BEFORE JULY 6, 2018. (lkaine, Usbc)




OUTCOME:
_____Granted_____Denied_____Approved_____Sustained
_____Denied_____Denied without prejudice_____Withdrawn in open court_____Overruled
_____OSC enforced/released
_____Continued to:__________________________For:______________________________________________
_____Formal order/stipulation to be submitted by:________________Date due:____________________
_____Findings and conclusions dictated at close of hearing incorporated by reference
_____Taken under advisement: Brief(s) due_______________________From_________________________
                              Response(s) due____________________From_________________________
_____Fees allowed in the amount of: $________________________Expenses of: $___________________
_____No appearance/response by:_______________________________________________________________
x
_____DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

THE PARTIES ARE HEREBY ORDERED TO FILE A JOINT STATUS REPORT AS TO THE SETTLEMENT
REPORTED BY THE MEDIATOR ON OR BEFORE NOVEMBER 2, 2018




IT IS SO NOTED:                                IT IS SO ORDERED:


______________________                                                              09/04/2018
                                               _______________________________Dated:__________
Courtroom Deputy                               Joan N. Feeney, U.S. Bankruptcy Judge
